                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    at CHATTANOOGA


 RACHEL ROBINSON,                             )
                                              )
        Plaintiff,                            )
 v.                                           )              No. 1:08-cv-143
                                              )              Edgar
 T-MOBILE and T-MOBILE, USA, INC.             )
                                              )
        Defendant.                            )

                                             ORDER

        In accordance with the accompanying memorandum opinion, the motion for summary

 judgment filed by Defendants T-Mobile and T-Mobile, USA, Inc. [Court Doc. No. 49] is

 DENIED in part and GRANTED in part. Defendant’s motion for summary judgment regarding

 Plaintiff’s claims pursuant to the Family Medical Leave Act, 29 U.S.C. §§ 2601 et seq.

 (“FMLA”) is DENIED. Defendant’s motion for summary judgment regarding Plaintiff’s claims

 for discrimination pursuant to the Tennessee Disability Act (“THA”), Tenn. Code Ann. §§ 8-50-

 103 et seq. is GRANTED. Plaintiff’s claim for discrimination pursuant to the THA against

 Defendant is DISMISSED WITH PREJUDICE. The parties should be prepared to proceed to

 trial regarding Plaintiff’s retaliation and interference claims under the FMLA.

        SO ORDERED.

        ENTER this the 28th day of September, 2009.



                                      /s/ R. Allan Edgar
                                    R. ALLAN EDGAR
                              UNITED STATES DISTRICT JUDGE




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